N/A Mail - Pil@fegelbia@rebs-LQDoc 220-1 Filed 03/13/24 httBay(erdad 8/4. 812A di0n4G? B10 | IDES EkNdwitpt&search....
Exhibit 1 Email Morgan to Toosley Page 1 of 1

Fey Gmail Keevan Morgan <kmorgan@morganandbleylimited.com>

Platform II Lawndale LLC

Keevan Morgan <kmorgan@morganandbleylimited.com> Tue, Mar 12, 2024 at 2:56 PM
To: atoosley@sgriaw.com

Adam:

| am going to appear tomorrow on behalf of what for the sake of convenience, | will call Plan Investors.It appears that
these are what the Plan describes as "(A)(2) The investors who have contributed new monies to fund the Plan shall
hold the Debtor’s membership interests as reflected in Exhibit F.”

Before | appear and file any papers, | wanted to give you the opportunity to explain to me in whatever way you wish
why it is that your client, GreenLake, believes that the funds contributed by Plan Investors are funds to which the

Receiver is entitled, as opposed to the Plan Investors being entitled to them.

My retention was just completed or | would have reached out to you sooner. | want to make sure that | am not missing
something in my analysis, which at this point informs me that the funds belong to my clients, not the Receiver.

Due to the Court hearing tomorrow, |! will be filing something by the end of the old-style business day, if you wish to
add anything to my review of the matter.

Thanks.

Keevan Morgan

lof | 3/13/2024, 11:23 AM
